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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

       v.                                                    15-CR-143

 TRENT ADAIR HAMILTON,                                       DECISION AND ORDER

            Defendant.
___________________________________


      1. On September 14, 2018, the defendant, Trent Adair Hamilton, pleaded guilty

to Count 3 of the second superseding indictment charging a violation of Title 21, United

States Code, Section 846 (conspiracy to possess with intent to distribute heroin,

fentanyl, and cocaine). Docket Item 217.

      2.     On September 14, 2018, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 642.

      3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

      4. This Court has carefully reviewed de novo Judge Schroeder’s

Report & Recommendation (docket item 642), the plea agreement (docket item 641),

the second superseding indictment (docket item 217), a transcript of the digital FTR

recording of the plea proceeding (docket item 660), and the applicable law. This Court

finds no legal or factual error in Judge Schroeder’s Report & Recommendation and
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therefore adopts Judge Schroeder’s recommendation that the defendant’s plea of guilty

be accepted and that the defendant be adjudged guilty of Count 3 of the second

superseding indictment.

         IT IS HEREBY ORDERED that this Court adopts Judge Schroeder’s September

14, 2018 Report & Recommendation, Docket Item 642, in its entirety, including the

authorities cited and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Trent Adair Hamilton, is now adjudged guilty under Title 21, United

States Code, Section 846.



         SO ORDERED.

Dated:         November 16, 2018
               Buffalo, New York



                                               s/ Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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